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DON E. LEWIS
03AUG
Posted by Crowder Funeral Home - Clear Lake
54 comments




Don E. Lewis, 67, passed away on July 31, 2020 in Houston, Texas. He was born on November 24, 1952
in Lufkin, Texas to Wayne L. Lewis and Argincie Henderson. Don attended (Lufkin) Dunbar High School,
Class of 1971. After being drafted, Don fulfilled his two-year duty and commitment to the United
States Army. Don earned a B.S. in Pharmacy from Texas Southern University, where he had the highest
academic average in the Class of 1977 and was a part of The Rho Chi Pharmacy Honor Society. After
pharmacy school, Don went on to earn his Juris Doctorate from Texas Southern University, where he
was a part of the Phi Alpha Delta Law Fraternity. Don was also a member of the Alpha Beta Sigma
Chapter of the Phi Beta Sigma Fraternity, Inc. Don established and solely ran his law firm Don E. Lewis
and Associates. He had a passion for all sports, and especially loved to duck hunt with his friends and
family members. Don also shared his passion by coaching and refereeing youth basketball in the
Houston, Texas City, and Galveston areas throughout his life. Don was preceded in death by his:
parents, Wayne L. Lewis and Argincie Henderson; and brothers, Michael E. Lewis and John W. Lewis.
Don is survived by his: wife of 42 years, Lauretta K. Lewis; sons, Keevin Lee and Armstead Lewis
(Rachel); sister, Barbara Valerie (William); brother, Bill Lewis; grandchildren, Simone Lee and Sanaa
Lee; and numerous family members and friends. A private Funeral Mass for Don’s family will take place
at St. Clare of Assisi Catholic Church, in the Clear Lake Area of Houston, Texas. Burial will take place
at Anthony Cemetery in Beaumont, Texas. Serving as pallbearers in a labor of love will be: Floyd
Booker, Glenn Brantley, Julius Childress, Keevin Lee, Bill Reynolds, and James Muldrow. In lieu of
flowers, those wishing to make a memorial donation in Don Lewis’ memory may do so to C.H.A.M.P.
(Changing Hearts and Mind Program) www.champ.vet.


54 COMMENTS
